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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                        CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                           v.                            ORDER

     JASON KESSLER, et al.,
                                                         JUDGE NORMAN K. MOON
                                  Defendants.


          This matter is before the Court on Plaintiffs’ unopposed Motion to Voluntarily Dismiss

   Count IV of the Second Amended Complaint. Dkt. 1238. In Count IV, Plaintiffs Muñiz, Sines,

   Blair, Martin, Alvarado, Baker, and Romero (“Movant-Plaintiffs”) raised a claim for negligence

   per se, against Defendant James Alex Fields, Jr. See Dkt. 557 ¶¶ 356–63. In their unopposed

   motion to voluntarily dismiss this count, Movant-Plaintiffs note that “Fields and many other

   Defendants have consented to this voluntary dismissal—including Cantwell, Kessler, Damigo,

   Hill, Tubbs, Heimbach, Parrott, League of the South, Identity Evropa, and Traditionalist Worker

   Party ….” Dkt. 1238 at 1. Movant-Plaintiffs seek a Court Order dismissing Count IV pursuant to

   Fed. R. Civ. P. 41(a)(2), because, while they represent that every non-defaulted Defendant

   consented to Plaintiffs’ dismissal of Count IV, there were several “unresponsive” Defendants for

   whom Plaintiffs were unable to obtain consent. See Dkt. 1238 at 1–2 & n.1.

          Rule 41(a)(2) permits voluntary dismissal “at the plaintiff’s request only by court order,

   on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). The “purpose of Rule 41(a)(2)

   is freely to allow voluntary dismissals unless the parties will be unfairly prejudiced.” Bridge Oil,

   Ltd. v. Green Pac. A/S, 321 F. App’x 244, 245 (quoting Davis v. USX Corp., 819 F.2d 1270,

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   1273 (4th Cir. 1987)). “[T]hus, a district court should grant a Rule 41(a)(2) motion ‘absent plain

   legal prejudice to the defendant.’” Id. (quoting Ellett Bros., Inc. v. U.S. Fidelity & Guar. Co.,

   275 F.3d 384, 388 (4th Cir. 2001)).

          Upon consideration of Plaintiffs’ unopposed motion for voluntary dismissal of Count IV,

   such Defendants as have consented, and the applicable standards for granting dismissal under

   Rule 41(a)(2), the Court concludes that dismissal of Count IV would not unfairly prejudice, or

   result in any “substantial prejudice,” id. at 246, to any party in this case. Nor do the factors

   identified in guiding this analysis weigh against dismissal of Count IV under such circumstances,

   see Howard v. Inova Health Care Servs., 302 F. App’x 166, 178–79 (4th Cir. 2008), much less

   outweigh the substantial reasons for granting Plaintiffs’ unopposed request in this regard, which

   will assist in facilitating a more streamlined decision-making by the jury at trial.

          For these reasons, the Court will GRANT Plaintiffs’ unopposed motion to voluntarily

   dismiss Count IV of the Second Amended Complaint. Dkt. 1238. Count IV shall be dismissed,

   without prejudice. This dismissal only applies as to Count IV.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to all counsel of record.
                        22nd day of October, 2021.
          Entered this ______




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